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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


YOONA HA,

                        Plaintiff,                  Case No. 14 C 895

            v.                                Hon. Harry D. Leinenweber

NORTHWESTERN UNIVERSITY,

                        Defendant.


                      MEMORANDUM OPINION AND ORDER

                               I.    BACKGROUND

     On February 11 and 12, 2012, the Plaintiff, a freshman at

Northwestern     University         (hereinafter,     the    “Defendant”         or

“Northwestern”), was sexually assaulted by Peter Ludlow (“Ludlow”),

one of her professors.          The assault took place off campus at

Ludlow’s apartment in the evening or early morning hours, and

occurred after Ludlow caused her to become intoxicated by plying

her with drinks.      Although her level of consciousness was as she

described it “in and out,” she recalls being kissed and groped by

Ludlow at his apartment and recalls waking up in his bed with his

arms around her.      Plaintiff told one of her professors about the

incident with Ludlow.      Plaintiff then confronted Ludlow who begged

her not to tell anyone and told her he could either mentor her

academically or pay her money.
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     The     professor,       to   whom   Plaintiff      reported     the   incident,

informed the University’s Director of Sexual Harassment Prevention

the next day.         The Director, Joan Slavin (“Slavin”), immediately

began   an    investigation        of   Plaintiff’s      complaint.         While   the

investigation was ongoing Slavin directed Ludlow to have no father

contact with Plaintiff and informed Plaintiff of this directive.

The investigation itself consisted of reviewing documents and other

information, and interviewing Plaintiff, Ludlow and several other

witnesses.       At     the    conclusion     of   the    investigation,       Slavin

summarized      the     information       reviewed     and    her     findings      and

recommendations in a 21-page memorandum to the Dean of the Weinberg

College of Arts & Sciences, dated April 10, 2012.                     Slavin also e-

mailed Plaintiff a copy of her memorandum.

     Based on the totality of the evidence Slavin concluded that

Ludlow had, in fact, engaged in unwelcome and inappropriate sexual

advances toward Plaintiff. She also found that, as a result of the

heavy consumption of alcohol purchased for Plaintiff by Ludlow,

that Ha “was unable to offer meaningful consent.”                       Slavin told

Plaintiff that she had made the Dean’s Office aware of her findings

and would work with that office on implementing needed corrective

and remedial actions.              She did, however, tell Plaintiff that

Northwestern would not share details of disciplinary and corrective

actions      taken    against      Ludlow    because     of   their    confidential




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personnel nature, other than he was to refrain from having any

contact with her.

        Plaintiff contends that as a result of the stress and trauma

of the events with Ludlow she was diagnosed with Post Traumatic

Stress Disorder and was hospitalized after attempting to commit

suicide.        Shortly thereafter, she retained attorneys to represent

her with regard to the matters related to the sexual assault.

Later Plaintiff         found    out that    Ludlow    was    still   employed       by

Northwestern. Because he had not been removed from the campus, she

felt unsafe which caused her to experience panic attacks.

        On April 24, 2012, Plaintiff’s counsel sent out a demand

letter     to    Ludlow   requesting     that   he    pay    Plaintiff’s    damages

resulting from his sexual assault.              On May 4, 2012, Ludlow, in a

letter to Plaintiff’s attorney written by his own attorney, denied

the allegation of sexual assault and accused plaintiff of making

false statements about him. He further threatened to sue Plaintiff

for defamation and ordered her to cease and desist from making

further false statements against him.                 Plaintiff reported this

threat to Ms. Slavin because she construed it as retaliation for

her     complaints.        Ms.    Slavin    promptly        investigated   on       the

University’s behalf.          When the investigation concluded, Plaintiff

was informed by Ms. Slavin that Ludlow’s letter did not violate

University policy against retaliation because the letter stated a




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legal position and was in response to Plaintiff’s attorney’s demand

letter.

     Plaintiff claims that the University retaliated against her

for complaining about Ludlow by denying her a fellowship and, when

she dropped out of a study abroad program, was denied a “non-

refundable”    refund    of    her   deposit.      She   also    alleges      that

Defendant’s Center for Awareness, Response, and Education (“Care”)

decided to stop working with her because of what it stated was

“conflicts of interest” based on her threat to sue Northwestern.

Finally,   after   suing      Northwestern,     Plaintiff    claims    that      she

experienced, what she termed as “inconvenience and difficulties,”

such as she had not been automatically registered for a class.                   She

complained about it and she was subsequently registered.                 Lastly,

she claims that Ludlow’s threat to file a defamation lawsuit

against her constituted retaliation.

                                II. DISCUSSION

     Plaintiff claims in Count I of her suit that she is entitled

to damages because Northwestern violated Title IX of the Education

Amendment Act of 1972. She claims that the failure of Northwestern

to fire Ludlow and allowing him to remain on campus created a

hostile enrolment that effectively deprived her of the education

opportunities and benefits provided by the school.                     She also

contends   that    the   inconvenience       and   difficulties       which      she

described above constituted retaliation.             The Complaint does not


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allege what actions Northwestern actually took against Ludlow,

although Northwestern sets forth in its Answer and its Affirmative

Defenses a laundry list of actions it took against Ludlow.

     Plaintiff’s problem with attempting to establish Title IX

liability for hostile environment against Northwestern is that an

institution must have actual knowledge of the harassment and have

exhibited deliberate indifference to it in order to be liable for

damages.      According      to   the   Supreme        Court,     Congress     did   not

contemplate payment of damages where the institution is unaware of

the hostile environment.          Nor does Title IX permit recovery for a

teacher’s sexual harassment of a student based on the principles of

respondeat superior or constructive notice, i.e., without actual

notice to the school official.              Gebser v. Lago Vista Independent

School Dist., 118 S.Ct. 1989 (1998).               It is only where the school

has actual notice of the harassment and does nothing about it or

takes insufficient actions to stop it that it shows deliberate

indifference.     Here, the Plaintiff complained to Northwestern of

sexual   harassment     on    the    part    of   Ludlow     after       it   occurred.

Northwestern    immediately         conducted     an    investigation         into   the

allegations and issued a report finding them well taken.                       It took

remedial action which consisted at least in part by instructing

Ludlow not have any contact with Plaintiff.                     Ha does not allege

that Ludlow violated that instruction, so Northwestern took timely,

reasonable,     and   successful        measures       to   end    the    harassment.


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Therefore, it is not liable under Title IX for Ludlow’s harassment.

If Northwestern had learned that its response was proven to be

inadequate to prevent further harassment by Ludlow, it would have

been required to take further steps to avoid liability.                     Wills v.

Brown University, 184 F.3d 20, 26 (1st Cir. 1999).                      However, the

Complaint does not allege any subsequent acts of harassment on

Ludlow’s part so there was no further action required to be taken

by Northwestern to avoid Title IX liability.

        The problem with Plaintiff’s argument that Northwestern should

be liable for indifference because it did not fire Ludlow, is that

it flies in the face of Supreme Court precedent established in

Davis Next Friend LaShonda D. v. Monroe, 119 S.Ct 1661, 1674

(1999).           Although      that    case    involved     student-on-student     sex

harassment, it nevertheless interpreted the requirements of Title

IX.     The Supreme Court specifically held that Title IX does not

give the victim the right to make particular remedial demands. “In

fact     .    .   .    courts    should      refrain    from    second-guessing     the

disciplinary decisions made by school administrators. . . . School

administrators will continue to enjoy the flexibility they require

so     long       as    funding        recipients      are     deemed   ‘deliberately

indifferent’ . . . only where the recipient’s response to the

harassment or lack thereof is clearly unreasonable in light of the

known circumstances.”                  Id.     Here so far as the Complaint is

concerned to Plaintiff’s knowledge, the Defendant took disciplinary


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action against Ludlow without disclosing the specifics other than

instructing him to have no contact with Plaintiff.              Ludlow acceded

to this instruction, and, other than an occasional glimpse of him

on the campus, there was no other contact between the two, other

than the attorney correspondence.          So as far as Plaintiff herself

is concerned, according to the Complaint, there was no other

contact.   She, however, claims that knowledge of Ludlow’s presence

on the campus caused her considerable grief.            However, this is not

actionable under Title IX.

     Plaintiff has also alleged a Title IX retaliation claim as

described above.      None of the occurrences could be classified as

retaliation. She claimed that she applied for a fellowship but was

denied the fellowship.        She does not allege that the denial was

causally related to her threats to bring suit.              She also does not

state who the decider was on the fellowship matter.                She dropped

out of a study abroad program and was denied a refund of a non-

refundable deposit. She, however, does not allege that the failure

to refund the deposit was occasioned by Northwestern.               She alleges

that “the company in charge” of the program was making the demand

for payment.    This would seem to imply that it was not Northwestern

who made the decision, but some unnamed company.              She claims that

the Northwestern Advocacy Center for Sexual Assault Victims stopped

working for her after she threatened suit through her attorney,

citing a conflict of interest, constituted retaliation.                However,


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Plaintiff herself likewise notified the Center that she wished to

terminate her relationship.          Her complaint about the threatened

suit does not constitute retaliation either.             Mlyncxak v. Bodman,

442 F.3d 1050, 1061 (7th Cir. 2006) (“The lawsuit-at least in the

absence of a showing not made here that it was independently an

abuse of process-was not the kind of adverse action that the

retaliation statute reaches.”) Plaintiff’s remaining complaints at

best amount to inconveniences which are not considered “adverse”

actions.    Hilt-Dyson v. City of Chicago, 282 F.3d 456, 465 (7th

Cir. 2002).

                              III.   CONCLUSION

     For the reasons stated herein, Defendant’s Motion for Judgment

on the Pleadings is granted.

IT IS SO ORDERED.




                                             Harry D. Leinenweber, Judge
                                             United States District Court

Date:11/13/2014




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